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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

Yunseo CHUNG,
Plaintiff-Petitioner,

Vis

Donald J. TRUMP, in his official capacity as
President of the United States of America; Marco
RUBIO, in his official capacity as Secretary of
State, U.S. Department of State; Pamela BONDI,
in her official capacity as Attorney General, U.S.
Department of Justice; Kristi NOEM, in her
official capacity as Secretary of Homeland
Security, U.S. Department of Homeland Security;
Todd M. LYONS, in his official capacity as
Acting Director, U.S. Immigration and Customs
Enforcement; and William P. JOYCE, in his
official capacity as Acting Field Office Director of
the New York Immigration and Customs
Enforcement Office,

Defendants-Respondents.

Case No. 25-cv-2412

ce SED] TEMPORARY RESTRAINING ORDER

Pursuant to Fed. R. Civ. P. 65, and having reviewed Plaintiff-Petitioner’s Proposed Order

to Show Cause for a Temporary Restraining Order and Preliminary Injunction, Plaintiff-

Petitioner’s supporting Memorandum of Law with attached declarations and exhibits, and any

response thereto, the Court HEREBY ORDERS that:

1) Plaintiff-Petitioner’s Motion for a Temporary Restraining Order and/or-Prehminary P

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2) Defendants-Respondents are enjoined from detaining the Plaintiff-Petitioner pending
further order of this Court;

3) Defendants-Respondents are enjoined from transferring the Plaintiff-Petitioner from
the jurisdiction of this District pending further order of this Court;

4) Should Defendants-Respondents seek to detain Plaintiff-Petitioner on any asserted
basis other than pursuing her removal under 8 U.S.C. § 1227(a)(4)(C) pending the
Court’s decision on a preliminary injunction, Defendants-Respondents are ordered to
provide sufficient advance notice to the Court and counsel, in order to enable Plaintiff-
Petitioner an opportunity to be heard regarding whether any such asserted basis for
detention constitutes a pretext for First Amendment retaliation; and

5) The bond requirement of Federal Rule of Civil Procedure 65(c) is waived.

IT IS SO ORDERED.

Dated: Mayrcle. AS 2025
New York, New York

